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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FT. LAUDERDALE DIVISION

    WENDY YUNKER,

                Plaintiff,
                                                       CASE NO: 0:10-cv-61796-UU
    v.

    ALLIANCEONE RECEIVABLES
    MANAGEMENT, INC.,

             Defendant.
    ______________________________/

                                   NOTICE OF APPEAL

           Notice is hereby given that Defendant, AllianceOne Receivables Management,

    Inc., hereby appeals to the United States Court of Appeals for the Eleventh Circuit from

    the Final Judgment entered in favor of Plaintiff, which Judgment was signed and entered

    on August 4, 2011.



                                                       Respectfully submitted,

                                                       /s/Dale T. Golden___________
                                                       DALE T. GOLDEN, ESQUIRE
                                                       FBN: 0094080
                                                       JAIME R. GIRGENTI, ESQUIRE
                                                       FBN: 0592641
                                                       GOLDEN & SCAZ, PLLC
                                                       201 North Armenia
                                                       Tampa, Florida 33606
                                                       813-251-5500(p)
                                                       813-251-3675(f)
                                                       jrgirgenti@goldenscaz.com
                                                       dale.golden@goldenscaz.com
                                                       Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was

    electronically filed with the Clerk of Court by using the CM/ECF system which will send

    notice of electronic filing to all counsel of record, this 2nd day of September, 2011.



                                                          /s/ Dale T. Golden
                                                          DALE T. GOLDEN, ESQUIRE




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